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UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2023-09003
      AVR AH LLC et al v. Nineteen77 Capital Solutions A LP et al
      Virtual Oral Ruling on (Related Doc. [67])




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      Case Number :                  2023-09003
      Case Title :                   AVR AH LLC et al v. Nineteen77 Capital Solutions A LP et al

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